Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 1 of 26




    EXHIBIT E TO MOTION FOR SUMMARY JUDGMENT
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 2 of 26
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 3 of 26
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 4 of 26




                                                                007560
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 5 of 26




                                                                007561
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 6 of 26




                                                                007562
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 7 of 26




                                                                007563
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 8 of 26




                                                                007564
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 9 of 26




                                                                007565
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 10 of 26




                                                                007566
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 11 of 26




                                                                007567
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 12 of 26




                                                                007568
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 13 of 26




                                                                005166
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 14 of 26




                                                                005167
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 15 of 26




                                                                005168
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 16 of 26




                                                                005169
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 17 of 26




                                                               006047
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 18 of 26




                                                               006048
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 19 of 26




                                                               006049
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 20 of 26




     EXHIBIT E TO MOTION FOR SUMMARY JUDGMENT                 019076
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 21 of 26




                                                              019077
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 22 of 26




                                                              019078
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 23 of 26




                                                              019079
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 24 of 26




                                                              019080
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 25 of 26




                                                              019081
Case 3:16-cv-00842-SDD-RLB   Document 98-8   04/29/19 Page 26 of 26




                                                              019082
